Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 1 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE DISTRICT COURT OF POTTAWATTAMIE COUNTY, IOWA

 

THOMAS E. ALLEN, an Individual, )
Plaintiffs,

vs. , ORIGINAL NOTICE
MILLER ELECTRIC COMPANY,
Defendants.

TO THE ABOVE-NAMED DEFENDANT(S): Miller Electric Company

You are notified that a petition has been filed in the office of the clerk of this court,
naming you as the defendant in this action. A copy of the petition is attached to this notice. The
attorney for the plaintiff is Thomp J. Pattermann, whose address is 300 West Broadway, Ste.
145, Council Bluffs, lowa 51503. That attorney's phone number is (712) 323-0999 and facsimile
number is (712) 323-0814.

You must serve a motion or answer within 20 days after service of this original notice
upon you and, within a reasonable time thereafter, file your motion or answer with the Clerk of
Court for Pottawattamie County, at the county courthouse in Council Bluffs, lowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the petition.

If you require the assistance of auxiliary aids or services to participate in court because
of a disability, immediately call your district ADA coordinator at (712) 328-4793. (If you are
hearing impaired, call Relay lowa TTY at 1-800-735-2942).

(SEAL)

 

CLERK OF COURT (Designee)
Pottawattamie County Courthouse

227 South Sixth Street

Council Bluffs, |A 51501

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR INTERESTS.
Case 1:21-cv-00009-RP-CFB Document1-2 Filed 03/10/21 Page 2 of 24

E-FILED 2020 DEC 08 9:25 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT

STATE OF IOWA JUDICIARY caseno, LACV121185
County Pottawattamie

Case Tite THOMAS ALLEN VS MILLER ELECTRIC COMPANY

THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the lowa Judicial Branch website at bttp:/Avww.jowacourts. state. ia us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http:/Awww.iowacourts. state. ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION vi OF IOWA
COURT RULES CHAPTER 16: hito:/Avww.iowacourts. state.ia.us/Efile

 

 

Scheduled Hearing:

 

If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (712) 328-5883 . (If you are hearing impaired, cali Relay lowa TTY at 1-800-735-2942.)

Date issued 12/08/2020 09:25:59 AM

 

District Clerk of Pottawattamie County
/s/ Teresa Mace

 
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 3 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE DISTRICT COURT OF POTTAWATTAMIE COUNTY, IOWA
THOMAS E. ALLEN, an Individual,
Plaintiffs,
vs.

PETITION & JURY DEMAND

MILLER ELECTRIC COMPANY,

i i i i i i

Defendants.

COMES NOW Plaintiff, Thomas E. Allen, by and through his counsel, and hereby brings his claims

against Miller Electric Company and states to the Court as follows:

INTRODUCTION
1, Defendant Miller Electric Company employs , at relevant times, approximately 500 plus
employees.
2. This is an age and disability discrimination case under the Iowa Civil Rights Act.

Plaintiff Thomas Allen has had his work hours reduced, he has suffered from harassment, retaliatory
reduced hours and retaliatory harassment.

3. Plaintiff began working for Defendant on January 23, 2017. The Defendant has made
judgments about Plaintiff based on age and disability. The claims require the resolution of the common
question of whether Defendant engaged in discrimination against Plaintiff because of his age and
disability.

4, Plaintiff seeks remedies to eliminate the adverse effects of such discrimination in his live,
career, working conditions and to prevent age and disability discrimination in the future. Plaintiff has a
standing to seek such relief because of the adverse effect age and disability discrimination has had on
him.

5. The actions described in this Petition demonstrate that Miller Electric Company violated

the Iowa Civil Rights Act in its treatment of Plaintiff.

1
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 4 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

6. By filing this Petition, Plaintiff is preserving his rights with respect to the statute of
limitations of his claims under Iowa Rules of Civil Procedure. —

7. Declaratory and injunctive relief are the factual and legal predicates for Plaintiff and
entitlement to monetary and non-monetary remedies for individual losses caused by, and the exemplary
purposes necessitated by, such discrimination and retaliation. :

JURISDICTION AND VENUE

8. The age and disability discrimination by Defendants, occurred more than 300 days prior
to and after the filing of the civil rights complaint with the lowa Civil Rights Commission submitted by
Plaintiff was ongoing and continuing in nature up to and including present day and as such, constitutes
continuing violations under the Iowa Code.

9. Venue is properly laid in this jurisdictional district pursuant to lowa Code given that
injury or damage was sustained in Pottawattamie County, Iowa. '

PARTIES

10. At all times material to this Petition, Plaintiff Thomas Allen was a-citizen and resident of
Pleasant Hope, Missouri, and was employed by Defendant Miller Electric Company.

11. At all times material to this Petition, Defendant, Miller Electric Company was a
corporation organized and existing under the laws of the State of Iowa with its principal place of business
at 4975 Sharon Center Road SW, Iowa City, Iowa.

PROCEDURAL REQUIREMENTS

12. On May 27, 2020, within 300 days of the acts of which the Plaintiff filed a charge of
employment discrimination and retaliation with the lowa Civil Rights Commission against Defendant.

13. On August 3, 2020, less than 90 days prior to the filing of this Petition, the Iowa Civil
Rights Commission administratively closed Plaintiff's case and issued to him an Administrative Release

letter and Letter of Right-to-Sue pursuant to lowa Code Chapter.
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 5 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

ALLEGATIONS
14. Plaintiff is bringing this action pursuant to the lowa Civil Rights Act on behalf of
Plaintiff as identified as follows. :
15. Defendant has acted on grounds described herein, applicable to the Plaintiff by adopting
and following patterns, practices and/or policies that are discriminatory and retaliatory against Plaintiff.
16. The Plaintiff was improperly denied hours and/or discriminated against because of his
age and disability in terms and conditions of employment and was wrongfully retaliated against because

he complained about his treatment by Defendant. .

17. There are questions of law and fact in regard to Plaintiff's treatment, including, but not
limited to:
i. Whether Defendant engaged in sustained, continuous patterns and practices of age and

disability discrimination against Plaintiff in the terms and conditions of employment;

ii. Whether the Plaintiff is a member of the relevant protected class;
iii. Whether Plaintiff suffered an adverse employment action;
iv. Whether the Defendant impermissibly considered Plaintiff's membership in a protected

class in violation of the Iowa Civil Rights Act.

v. To what extent, and in what particulars, did Defendant retaliate against Plaintiff for
getting hurt on the job and filing a claim for benefits with the Industrial Commissioner.

FACTUAL BACKGROUND

18. Plaintiff is a disabled 64-year old employee who currently works for Defendant Miller
Electric Company.

19. Plaintiff was improperly denied full time employment and faced discrimination before
and after May 27, 2020.

20. Plaintiff began working for Defendant on January 23, 2017. His position was inside

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Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 6 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

wireman. He was supervised by Chad Saylor, general foreman, and Joe Pincles, foreman.

21. Plaintiff was injured at work on June 12, 2019. | He got his foot caught in a defective
turnstile while on the jobsite and fell. He caught himself with his left arm. He injured his left
shoulder and heel. As a result, Plaintiff has suffered permanent injuries to his left shoulder and heel. .

22. Plaintiff had to record his injury in order to receive treatment.

23. Plaintiff's hours were decreased to 20 hours per week after he recorded his injury. He
previously worked approximately 58 hours per week.

24, Plaintiff was sent to Defendant’s office site to work. He was told that he would be “put
on the blacklist” if he made it a “recordable injury.” Safety personnel and Plaintiff's union steward also
told him that he was at risk of losing his job for recording his injury. Plaintiff believes that Respondent
“only cared about a clean record of recordable injuries.” Carol Long, safety personnel, told Plaintiff that
he feared he would be fired due to his injury and that it would look bad for Plaintiff.

25, Plaintiff states that recording his injury caused other employees to take two and a half
days off without pay. He does not know how his injury caused this, but he believes it caused his
coworkers to dislike him.

26. Plaintiff continued in his normal duties and caused further injury He made numerous
trips to the medical trailer on his worksite to receive ice and pain medication. According to the records
from his doctor, he continued working his normal duties for approximately six weeks. He went to the
doctor on July 29, 2019 and was referred to physical therapy for his injuries.

27. One month after his injury, Plaintiff began working in one of Defendant’s trailers. —
There, he was harassed by Ken Madison, superintendent. Madison had the authority to take employment
actions against Plaintiff, including termination. Madison also harassed plaintiff prior to his injury.
Madison told Plaintiff he was not wearing appropriate protective equipment, talked with his doctors, and

gave him “disapproving” looks. | Madison called him Humpty Dumpty. Mike Copeland had the same
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 7 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

injury and was not harassed by Madison. Copeland’s injury was not recordable. Fred Wilson Jr. wanted
Plaintiff to quit and told Madison to be “aggressive” towards him. Plaintiff was reprimanded for using
his cell phone and did not have a union steward present during the confrontations. This would not have
happened if he had treated his injury outside of work and used his own insurance.

28. Plaintiff complained about the harassment to Tim Heavy, union steward. ‘He also
complained about the harassment to a safety manager and to Madison himself. No action was taken and
Heavy told Plaintiff about an employee who attempted to sue Defendant for harassment and was not
successful. Other Employees who made complaints were labelled “troublemakers” and were terminated.
Older employees with disabilities were laid off.

COUNT I
VIOLATION OF IOWA CODE
AGE AND DISABILITY DISCRIMINATION & RETALIATION

29. Defendant discriminated against Plaintiff with respect to employment based on age and
disability in violation of lowa Code.

30. Defendant engaged in a continuing pattern and practice of age and disability
discrimination and harassment in violation of Iowa Civil Rights Act, lowa Code.

31, Plaintiffs age and disability were motivating factors in the discrimination.

32. The Defendant retaliated against the Plaintiff for protecting his rights by filing a workers’
compensation claim.

33. The Defendant’s violation of lowa Code is the cause of the injuries suffered by Plaintiff.

34. As a result of Defendant’s acts, Plaintiff will continue to suffer damages including but
not limited to, mental and emotional harm and anguish, humiliation, embarrassment, and loss of
enjoyment of life. Plaintiff has and will continue to suffer loss of past and future wages and benefits,

other emoluments of employment and past and future medical expenses.

35. - Asaresult of Defendant’s acts aforesaid, Plaintiff is entitled to the relief set forth in the
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 8 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

request for relief below.
REQUEST FOR RELIEF

WHEREFORE Plaintiff, requests judgment and relief against Defendant as follow:

a. That Defendant’s conduct be declared to be in violation of Plaintiff's rights as outlined in
Iowa Code Chapter.
b. That Defendant, its officers, employees, agents, attorneys, successors and assigns, and

those acting in concert therewith be enjoined from any further conduct violating Plaintiff's rights or the
rights of others similarly situated as secured by the lowa Code, and that the Court order such other
injunctive relief as necessary to prevent Defendants from continuing their discriminatory practices and to
protect other similarly situated;

Cc. That Plaintiff be awarded compensatory damages and any other form of relief to which
he is entitled, including equitable, declaratory, monetary or other relief due to Plaintiff in a lump sum or
installments pursuant to lowa Rules of Civil Procedure.

d. That Plaintiff be made whole by providing him appropriate lost earnings and benefits

with pre-judgment interest, past and future emotional distress damages, and other affirmative relief.

e. Plaintiff be awarded reasonable attorney fees and costs incurred in prosecuting this
action. And
f. Plaintiff be awarded such additional and further relief as just and proper.
PUNITIVE DAMAGES | |

The behavior of the Defendant caused damage to the Plaintiff which rise to the level of willful and
wanton, reckless disregard for the rights of the Plaintiff, thus entitling the Plaintiff to punitive as well as

compensatory and special damages.
Case. 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 9 of 24

E-FILED 2020 DEC 07 5:06 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

JURY DEMAND

Plaintiff hereby demands a trial by jury in this matter.

By_/S/ Thomp J. Pattermann

THOMP J. PATTERMANN #AT0006027

GALLNER & PATTERMANN, P.C.

300 West Broadway, Suite 145, Council Bluffs, IA 51503
Telephone: (712) 323-0999 Facsimile: (712) 323-0814
tjpattermann@sgalinerlaw.com
ATTORNEY FOR PLAINTIFF
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 10 of 24

E-FILED LACV121185 - 2020 DEC 08 10:35 AM POTTAWATTAMIE
CLERK OF DISTRICT COURT Page 1 of 2

CA4013

State of lowa, District Court POTTAWATTAMIE County

 

 

 

 

THOMAS ALLEN
Plaintiff / Petitioner
vs. ‘ CASE NO. 04781 LACV121185
MILLER ELECTRIC COMPANY :
Defendant / Respondent ORDER FOR INDIVIDUAL CASE ASSIGNMENT
IT IS ORDERED:

Judge Jeffrey L. Larson is designated as the Judge to preside over all future proceedings in this case.

If there are pending matters that should be determined before the trial/hearing, counsel shall promptly
bring those matters to the attention of the presiding Judge.

/s/ Lori Johannes, Judicial Specialist
712-328-4714

Copies to:

THOMP JOHN PATTERMANN
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 11 of 24

 

E-FILED LACV121185 - 2020 DEC 08 10:35 AM POTTAWATTAMIE
= Page 2 of 2
State of lowa Courts

Case Number Case Title

LACV121185 THOMAS ALLEN VS MILLER ELECTRIC COMPANY

Type: OTHER ORDER ~

So Ordered
Lori Johannes, desl Coodat,

 

Fourth Judicial oes act of lowa

Electronically signed on 2020-12-08 10:35:30
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 12 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE DISTRICT COURT OF POTTAWATTAMIE COUNTY, IOWA

THOMAS E. ALLEN, an Individual, ) LACV121185
Plaintiffs,
vs. , ORIGINAL NOTICE
MILLER ELECTRIC COMPANY,
Defendants.

TO THE ABOVE-NAMED DEFENDANT(S): Miller Electric Company

You are notified that a petition has been filed in the office of the clerk of this court,
naming you as the defendant in this action. A copy of the petition is attached to this notice. The
attorney for the plaintiff is Thomp J. Pattermann, whose address is 300 West Broadway, Ste.
145, Council Bluffs, lowa 51503. That attorney’s phone number is (712) 323-0999 and facsimile
number is (712) 323-0814.

You must serve a motion or answer within 20 days after service of this original notice
upon you and, within a reasonable time thereafter, file your motion or answer with the Clerk of
Court for Pottawattamie County, at the county courthouse in Council Bluffs, lowa. If you do not,
judgment by default may be rendered against you for the relief demanded in the petition.

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of a disability, immediately call your district ADA coordinator at (712) 328-4793. (If you are
hearing impaired, call Relay lowa TTY at 1-800-735-2942).

(SEAL)

 

CLERK OF COURT (Designee)
Pottawattamie County Courthouse

227 South Sixth Street

Council Bluffs, A 51501

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR INTERESTS.
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 13 of 24

E-FILED 2021 FEB 08 8:56 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT

STATE OF IOWA JUDICIARY caseno. LACV 121185
County Pottawattamie

Case Tile THOMAS ALLEN VS MILLER ELECTRIC COMPANY

THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

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16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http:/Awww.iowacourts. state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: hitp:/Avww.iowacourts. state.ia.us/Efile

 

 

Scheduled Hearing:

 

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ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay lowa TTY at 1-800-735-2942.)

Date Issued 02/08/2021 08:56:27 AM

 

District Clerk of Pottawattamie County

/s/ Julie Walling

 
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 14 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE DISTRICT COURT OF POTTAWATTAMIE COUNTY, IOWA

THOMAS E. ALLEN, an Individual, ) LACV121185
)
Plaintiffs, )
) AMENDED~
vs. ) PETITION & JURY DEMAND
)
MILLER ELECTRIC COMPANY, )
)
Defendants. )

COMES NOW Plaintiff, Thomas E. Allen, by and through his counsel, and hereby brings his claims

against Miller Electric Company and states to the Court as follows:

INTRODUCTION
1, Defendant Miller Electric Company employs, at relevant times, approximately 500 plus
employees.
2. This is an age and disability discrimination case under the lowa Civil Rights Act.

Plaintiff Thomas Allen has had his work hours reduced, he has suffered from harassment, retaliatory
reduced hours and retaliatory harassment.

3. Plaintiff began working for Defendant on January 23, 2017. The Defendant has made
judgments about Plaintiff based on age and disability. The claims require the resolution of the common
question of whether Defendant engaged in discrimination against Plaintiff because of his age and
disability.

4, Plaintiff seeks remedies to eliminate the adverse effects of such discrimination in his live,
career, working conditions and to prevent age and disability discrimination in the future. Plaintiff has a
standing to seek such relief because of the adverse effect age and disability discrimination has had on
him.

5. The actions described in this Petition demonstrate that Miller Electric Company violated
the Iowa Civil Rights Act in its treatment of Plaintiff.

1
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 15 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

6. By filing this Petition, Plaintiff is preserving his rights with respect to the statute of
limitations of his claims under Iowa Rules of Civil Procedure. |

7. Declaratory and injunctive relief are the factual and legal predicates for Plaintiff and
entitlement to monetary and non-monetary remedies for individual losses caused by, and the exemplary
purposes necessitated by, such discrimination and retaliation.

JURISDICTION AND VENUE

8. The age and disability discrimination by Defendants, occurred more than 300 days prior
to and after the filing of the civil rights complaint with the lowa Civil Rights Commission submitted by
Plaintiff was ongoing and continuing in nature up to and including present day and as such, constitutes
continuing violations under the Jowa Code.

9, Venue is properly laid in this jurisdictional district pursuant to lowa Code given that
injury or damage was sustained in Pottawattamie County, Iowa.

PARTIES

10. At all times material to this Petition, Plaintiff Thomas Allen was a citizen and resident of
Pleasant Hope, Missouri, and was employed by Defendant Miller Electric Company.

11. At all times material to this Petition, Defendant, Miller Electric Company was a
corporation organized and existing under the laws of the State of Nebraska with its principal place of
business at 2501 St. Mary’s Avenue, Omaha, Nebraska 68105.

| PROCEDURAL REQUIREMENTS

12. On May 27, 2020, within 300 days of the acts of which the Plaintiff filed a charge of
employment discrimination and retaliation with the Iowa Civil Rights Commission against Defendant.

13. On August 3, 2020, less than 90 days prior to the filing of this Petition, the lowa Civil
Rights Commission administratively closed Plaintiff’s case and issued to him an Administrative Release

letter and Letter of Right-to-Sue pursuant to lowa Code Chapter.
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 16 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

ALLEGATIONS |
14. Plaintiff is bringing this action pursuant to the lowa Civil Rights Act on behalf of
Plaintiff as identified as follows.
15, Defendant has acted on grounds described herein, applicable to the Plaintiff by adopting
and following patterns, practices and/or policies that are discriminatory and retaliatory against Plaintiff.
16. The Plaintiff was improperly denied hours and/or discriminated against because of his
age and disability in terms and conditions of employment and was wrongfully retaliated against. because

he complained about his treatment by Defendant.

17. There are questions of law and fact in regard to Plaintiffs treatment, including, but not
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i. Whether Defendant engaged in sustained, continuous patterns and practices of age and

disability discrimination against Plaintiff in the terms and conditions of employment;

ii. Whether the Plaintiff is a member of the relevant protected class; _
ili. Whether Plaintiff suffered an adverse employment action;
iv. Whether the Defendant impermissibly considered Plaintiff's membership in a protected

class in violation of the lowa Civil Rights Act.

v. To what extent, and in what particulars, did Defendant retaliate against Plaintiff for
getting hurt on the job and filing a claim for benefits with the Industrial Commissioner. .

FACTUAL BACKGROUND

18. Plaintiff is a disabled 64-year old employee who currently works for Defendant Miller
Electric Company.

19, Plaintiff was improperly denied full time employment and faced discrimination before
and after May 27, 2020.

20. Plaintiff began working for Defendant on January 23, 2017. His position was inside
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 17 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

wireman. He was supervised by Chad Saylor, general foreman, and Joe Pincles, foreman.

21. Plaintiff was injured at work on June 12, 2019. He got his foot caught in a defective
turnstile while on the jobsite and fell. He caught himself with his left arm. He injured his left |
shoulder and heel. As a result, Plaintiff has suffered permanent injuries to his left shoulder and heel.

22. Plaintiff had to record his injury in order to receive treatment.

23. Plaintiff’s hours were decreased to 20 hours per week after he recorded his injury, He
previously worked approximately 58 hours per week. |

24. Plaintiff was sent to Defendant’s office site to work. He was told that he would be “put
on the blacklist” if he made it a “recordable injury.” Safety personnel and Plaintiff's union steward also
told him that he was at risk of losing his job for recording his injury. Plaintiff believes that Respondent
“only cared about a clean record of recordable injuries.” Carol Long, safety personnel, told Plaintiff that
he feared he would be fired due to his injury and that it would look bad for Plaintiff.

25, Plaintiff states that recording his injury caused other employees to take two and a half
days off without pay. He does not know how his injury caused this, but he believes it caused his |
coworkers to dislike him.

26. Plaintiff continued in his normal duties and caused further injury He made numerous
trips to the medical trailer on his worksite to receive ice and pain medication. According to the records
from his doctor, he continued working his normal duties for approximately six weeks. He went to the
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27. One month after his injury, Plaintiff began working in one of Defendant’s trailers.

There, he was harassed by Ken Madison, superintendent. Madison had the authority to take employment
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Madison told Plaintiff he was not wearing appropriate protective equipment, talked with his doctors, and

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Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 18 of 24

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injury and was not harassed by Madison. Copeland’s injury was not recordable. Fred Wilson Jr. wanted
Plaintiff to quit and told Madison to be “aggressive” towards him. Plaintiff was reprimanded for using
his cell phone and did not have a union steward present during the confrontations. This would not have
happened if he had treated his injury outside of work and used his own insurance.

28. Plaintiff complained about the harassment to Tim Heavy, union steward. He also
complained about the harassment to a safety manager and to Madison himself. No action was taken and
Heavy told Plaintiff about an employee who attempted to sue Defendant for harassment and was not
successful. Other Employees who made complaints were labelled “troublemakers” and were terminated.
Older employees with disabilities were laid off. -

COUNT I
VIOLATION OF IOWA CODE
AGE AND DISABILITY DISCRIMINATION & RETALIATION

29, Defendant discriminated against Plaintiff with respect to employment based on age and
disability in violation of lowa Code. |

30. Defendant engaged in a continuing pattern and practice of age and disability
discrimination and harassment in violation of Iowa Civil Rights Act, lowa Code.

31. Plaintiff's age and disability were motivating factors in the discrimination.

32, The Defendant retaliated against the Plaintiff for protecting his rights by filing a workers’
compensation claim.

33. The Defendant’s violation of lowa Code is the cause of the injuries suffered by Plaintiff

34, As a result of Defendant’s acts, Plaintiff will continue to suffer damages including but
not limited to, mental and emotional harm and anguish, humiliation, embarrassment, and loss of
enjoyment of life. Plaintiff has and will continue to suffer loss of past and future wages and benefits,
other emoluments of employment and past and future medical expenses.

35. As aresult of Defendant’s acts aforesaid, Plaintiff is entitled to the relief set forth in the
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 19 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

request for relief below.
REQUEST FOR RELIEF

WHEREFORE Plaintiff, requests judgment and relief against Defendant as follow:

a. That Defendant’s conduct be declared to be in violation of Plaintiff's rights as outlined in
lowa Code Chapter.

b. That Defendant, its officers, employees, agents, attorneys, successors and assigns, and
those acting in concert therewith be enjoined from any further conduct violating Plaintiff's rights or the
rights of others similarly situated as secured by the lowa Code, and that the Court order such other
injunctive relief as necessary to prevent Defendants from continuing their discriminatory practices and to
protect other similarly situated;

c. That Plaintiff be awarded compensatory damages and any other form of relief to which
he is entitled, including equitable, declaratory, monetary or other relief due to Plaintiff in a lump sum or
installments pursuant to lowa Rules of Civil Procedure.

d. That Plaintiff be made whole by providing him appropriate lost earnings and benefits

with pre-judgment interest, past and future emotional distress damages, and other affirmative relief.

e. Plaintiff be awarded reasonable attorney fees and costs incurred in prosecuting this
action. And
f. Plaintiff be awarded such additional and further relief as just and proper.
PUNITIVE DAMAGES

The behavior of the Defendant caused damage to the Plaintiff which rise to the level of willful and
wanton, reckless disregard for the rights of the Plaintiff, thus entitling the Plaintiff to punitive as well as

compensatory and special damages.
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 20 of 24

E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

JURY DEMAND

Plaintiff hereby demands a trial by jury in this matter.

By_/S/ Thomp J. Pattermann

THOMP J. PATTERMANN #AT0006027

GALLNER & PATTERMANN, P.C.

300 West Broadway, Suite 145, Council Bluffs, IA 51503
Telephone: (712) 323-0999 Facsimile: (712) 323-0814

tipattermann@sgallnerlaw.com
ATTORNEY FOR PLAINTIFF
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E-FILED 2021 FEB 05 2:57 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE DISTRICT COURT OF POTTAWATTAMIE COUNTY, IOWA

THOMAS E. ALLEN, an Individual, ) LACV 121185
)
Plaintiffs, )
)
vs. ) MOTION TO EXTEND
) SERVICE DEADLINE:
MILLER ELECTRIC COMPANY, ) .
)
Defendants. )

COMES NOW Plaintiff, by and through his attorney-of-record, T. i Pattermann
(hereinafter “Attorney Pattermann”), and for his Motion for Extension of Time to Serve Original
Notice and Petition at Law and Jury Demand and states as follows:

1, That the Petition at Law and Jury Demand (see Exhibit “A” attached hereto) in the
above-captioned matter was filed on December 7, 2020.

2. The Plaintiff's Attorney served the Petition and Original Notice on Miller Electric
Company in Iowa on January 4, 2021.

3. Plaintiffs’ attorney received a phone call from Miller Electric Company’s attorney
on or about January 18, 2021 claiming Defendant Miller Electric Company in Iowa was the wrong
Defendant.

4. Plaintiffs’ attorney is amending his Petition to be served on Defendant Miller
Electric Company in Nebraska.

5. That on March 4, 2021, the deadline for service will run.

6. That Attorney Pattermann will need a 45-day extension of time or until April 16,
2021, to complete service on Defendant Miller Electric Company.

7. That Attorney Pattermann has attempted reasonable means available to obtain
service on Defendants. |

8. That Attorney Pattermann requests an Order extending the service deadline 45 days
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or until April 16, 2021.
WHEREFORE Plaintiff respectfully prays for an order granting an extension of 45 days

or until April 16, 2021, to accomplish service on Defendants Miller Electric Company.

DATED this 5th day of February 2021.

/s/ Thomp J. Pattermann
T. J. Pattermann - #AT0606027
GALLNER & PATTERMANN, P.C. ©
300 West Broadway Street, Suite 145 .
Council Bluffs, lowa 51503 :
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ATTORNEYS FOR PLAINTIFFS
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CLERK OF DISTRICT COURT Page 1 of 2

IN THE DISTRICT COURT OF POTTAWATTAMIE COUNTY, IOWA

THOMAS E. ALLEN, an Individual, ) LACV 121185
Plaintiffs, 5
vs. - ORDER
MILLER ELECTRIC COMPANY, 5
Defendants.

THIS MATTER came on to be heard this day of February 2021, upon the Motion of counsel for
Plaintiff for additional time for Service on Defendants Miller Electric Company. The Court being fully
advised in the premises finds that, according to the Motion of Plaintiffs counsel, that Plaintiff has
attempted service upon the Defendants to no avail. Plaintiff's counsel believes an Order extending the
service deadline should be entered and that service shall be made by personal service within 45 days.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiff is granted an

additional 45 days or until April 16, 2021 to serve Defendants by personal service.
Case 1:21-cv-00009-RP-CFB Document 1-2 Filed 03/10/21 Page 24 of 24

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CLERK OF DESIRICT COURT =~ Page 2 of 2

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State of Iowa Courts

Case Title
THOMAS ALLEN VS MILLER ELECTRIC COMPANY
OTHER ORDER

So Ordered

ZL Laven

Jeffrey L. Larson, Chief Judge,
Fourth Judicial District. of lowa

 
